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 In the United States Court of Federal Claims
                                    No. 19-399C
                               (Filed May 25, 2021)
                             NOT FOR PUBLICATION

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                                  *
AXE MURDERER TOURS GUAM, *
INC.,                             *
                                  *
                 Plaintiff,       *
                                  *
      v.                          *
                                  *
THE UNITED STATES,                *
                                  *
                 Defendant.       *
                                  *
* * * * * * * * * * * * * * * * * *
                                      ORDER

       As explained at the conclusion of today’s oral argument, the Court finds good
cause to issue a protective order protecting certain of plaintiff Axe Murderer Tours
Guam, Inc.’s (Axe Murderer’s) confidential commercial information under Rule
26(c)(1)(G) of the Rules of the United States Court of Federal Claims (RCFC).
Accordingly, plaintiff ’s motion for a protective order, ECF No. 19, as modified by
plaintiff ’s reply, ECF No. 21, at 6–7, is GRANTED.
       The Court finds that the information plaintiff seeks to protect---namely
income, expenses, profits, and losses attributable to its scuba diving services---is
indistinguishable from the information found protectable in Apple Inc. v. Samsung
Elec. Co., 727 F.3d 1214, 1218–19 (Fed. Cir. 2013), and in DNC Parks & Resorts at
Yosemite, Inc. v. United States, 127 Fed. Cl. 435, 437 (2016). As in those cases, Axe
Murderer’s detailed financial information is “confidential . . . commercial
information” that should “not be revealed or be revealed only in a specified way.”
RCFC 26(c)(1)(g). Disclosure of this information would place Axe Murderer at a
competitive disadvantage in the geographically-limited market for these services.
See Scheibe Aff., ECF No. 19-1 ¶¶ 7, 14–16, 18; see also DNC Parks, 127 Fed. Cl. at
440. This specific harm far outweighs any conceivable public interest in access to
these materials, which at this stage of the litigation have not been introduced or
relied upon in judicial proceedings. See Apple, 727 F.3d at 1226.
    Therefore, the information in plaintiff ’s Profit Reports (Bates Nos.
AMTG00244–374) and Base Exchange Sales Reports (AMTG00550–563), Reply at 6
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n.4, shall not be disclosed by the government to third parties or used for any
purposes outside of this litigation. Similarly protected is any deposition testimony
or other documentation making use of or referencing the protected information.
The parties shall meet and confer regarding the language of a formal protective
order and shall, on or by Tuesday, June 8, 2021, file a status report updating the
Court on the fruits (or progress) of those discussions.
IT IS SO ORDERED.


                                       s/ Victor J. Wolski
                                       VICTOR J. WOLSKI
                                       Senior Judge




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